        Case 1:21-cv-03263-EGS Document 16-3 Filed 08/17/22 Page 1 of 3




                           UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF COLUMBIA


    NEW MEXICO CATTLE GROWERS’
    ASSOCIATION,

                                              Plaintiff,   Civil Action No. 1:21-cv-3263-EGS

       v.

    UNITED STATES FISH AND WILDLIFE
    SERVICE, et al.,

                                   Federal Defendants,

    CENTER FOR BIOLOGICAL DIVERSITY;
    MARICOPA AUDUBON SOCIETY,

                                Defendant-Intervenors.


       [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION TO COMPEL
              COMPLETION OF THE ADMINISTRATIVE RECORD

       Before the Court is Plaintiff New Mexico Cattle Growers’ Association’s Motion to Compel

Completion of the Administrative Record.

       Upon due consideration, the Court hereby GRANTS the Plaintiff’s Motion to Compel

Completion of the Administrative Record, and ORDERS as follows:

       1.     The Federal Defendants shall file an amended certified index of the administrative

record and serve an amended administrative record on Plaintiff and the Defendant-Intervenors,

that includes: (1) Email from Gjon Hazard, Fish & Wildlife Biologist, U.S. Fish & Wildlife Serv.,

to Angela Picco, et al. (May 9, 2017, 5:04 PM); and (2) Email from Greg Beatty, Fish & Wildlife

Biologist, U.S. Fish & Wildlife Serv., to Gjon Hazard, et al. (May 15, 2017, 11:15 AM).
        Case 1:21-cv-03263-EGS Document 16-3 Filed 08/17/22 Page 2 of 3




       2.      Pursuant to this Court’s May 6, 2022, Minute Order, within 14 days of this Order,

the Parties shall meet and confer and propose a schedule for the production of the amended

administrative record and the resumption of merits briefing.

       IT IS SO ORDERED.



       DATED this _____ day of _________, 2022.



                                                    _________________________________
                                                    Honorable Emmet G. Sullivan
                                                    United States District Court Judge




                                                2
        Case 1:21-cv-03263-EGS Document 16-3 Filed 08/17/22 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I certify that I electronically filed and served the foregoing with the Clerk of the Court for

the United States District Court for the District of Columbia using the CM/ECF system.

                                                 /s/ Damien M. Schiff
                                                 DAMIEN M. SCHIFF, D.D.C. No. CA00045
                                                 Email: dschiff@pacificlegal.org
                                                 Pacific Legal Foundation
                                                 555 Capitol Mall, Suite 1290
                                                 Sacramento, CA 95814
                                                 Telephone: (916) 419-7111
                                                 Facsimile: (916) 419-7747

                                                 Counsel for Plaintiff




                                                 3
